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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA

DEBORAH LAUFER,

             Plaintiff,

v.                                              Case No. 1:19-cv-305-AW-GRJ

TEMPLE HILL, INC.,
d/b/a QUALITY INN,

          Defendant,
______________________/


                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                          and MEMORANDUM OF LAW

             This is an action brought pursuant to the Americans With Disabilities

Act, in which the Plaintiff, Deborah Laufer, is requesting this Court to order the

Defendant to bring the on-line reservation systems it uses into compliance with the

requirements of 28 C.F.R. Section 36.302(e). Pursuant to Rule 56, Fed.R.Civ.P.,

Ms. Laufer, now moves for entry of summary judgment. She hereby shows the

Court that there are no issues of material fact and that the Plaintiff is entitled to

judgment in her favor as a matter of law.

             This motion first discusses the applicable law, followed by a statement

of the facts and the application of that law to the facts.

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 I. THE LAW.

       A. The Americans With Disabilities Act.

               In enacting the Americans with Disabilities Act (“ADA”), Congress

noted that the many forms such discrimination takes include "outright intentional

exclusion" as well as the "failure to make modifications to existing facilities and

practices." 42. U.S.C. § 12101(a)(5).   Congress concluded that there was a

"compelling need...[for a] clear and comprehensive national mandate" to eliminate

discrimination against disabled individuals, and to integrate them "into the

economic and social mainstream of American life." S. Rep. No. 101-116, p. 20

(1989); H.R. Rep. No. 101-485, pt. 2, p. 50 (1990), U.S.Code Cong. &

Admin.News 1990, pt. 2, pp. 303, 332.

              Title III of the ADA prescribes, as a "[g]eneral rule":

            No individual shall be discriminated against on the basis of disability
            in the full and equal enjoyment of the goods, services, facilities,
            privileges, advantages, or accommodations of any place of public
            accommodation by any person who owns, leases (or leases to),
            operates a place of public accommodation.
42 U.S.C. § 12182(a).

             “Disability” means, with respect to an individual: a physical or

mental impairment that substantially limits one or more of the major life activities

of such individual, a record of such an impairment, or being regarded as having

such an impairment. 42 U.S.C. §12102(2).
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               The phrase "public accommodation" is defined in terms of twelve

(12) extensive categories and specifically includes hotels, 42 U.S.C 12182 (7)(A).

               As the owner of a place of public accommodation, specifically, the

Qaulity Inn, located at 15960 N.W. U.S. 441, Alachua, Florida, the Defendant is

required to comply with the ADA. As such, Defendant is required to ensure that

it's place of lodging is in compliance with the standards applicable to places of

public accommodation, as set forth in the regulations promulgated by the

Department of Justice (“DOJ”). Those regulations are set forth in the Code of

Federal Regulations, the Americans With Disabilities Act Architectural Guidelines

("ADAAGs"), and the 2010 ADA Standards, incorporated by reference into the

ADA. These regulations impose requirements pertaining to places of public

accommodation, including places of lodging, to ensure that they are accessible to

disabled individuals.

             More specifically, 28 C.F.R. § 36.302(e)(1), which became effective

March 15, 2010, imposes the following requirement:

             Reservations made by places of lodging. A public accommodation
             that owns, leases (or leases to), or operates a place of lodging shall,
             with respect to reservations made by any means, including by
             telephone, in-person, or through a third party -
                   (i) Modify its policies, practices, or procedures to ensure that
                   individuals with disabilities can make reservations for
                   accessible guest rooms during the same hours and in the same
                   manner as individuals who do not need accessible rooms;

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                      (ii) Identify and describe accessible features in the hotels and
                      guest rooms offered through its reservations service in enough
                      detail to reasonably permit individuals with disabilities to
                      assess independently whether a given hotel or guest room meets
                      his or her accessibility needs;
                      (iii) Ensure that accessible guest rooms are held for use by
                      individuals with disabilities until all other guest rooms of that
                      type have been rented and the accessible room requested is the
                      only remaining room of that type;
                      (iv) Reserve, upon request, accessible guest rooms or specific
                      types of guest rooms and ensure that the guest rooms requested
                      are blocked and removed from all reservations systems; and
                      (v) Guarantee that the specific accessible guest room reserved
                      through its reservations service is held for the reserving
                      customer, regardless of whether a specific room is held in
                      response to reservations made by others.

              In 28 C.F.R. App’x A to Part 36, Guidance on Revisions to the

A.D.A. Regulation on Nondiscrimination of the Basis of Disability by Public

Accommodations and Commercial Facilities, the D.O.J1 stated:

              Each year the Department receives many complaints
              concerning failed reservations. Most of these complaints
              involve individuals who have reserved an accessible hotel
              room only to discover upon arrival that the room they
              reserved is either not available or not accessible…In many
              cases individuals with disabilities expressed frustration
              because, while they are aware of improvements in
              architectural access brought about as a result of the ADA, they
              are unable to take advantage of these improvements because
              of shortcomings in current hotel reservations systems. A
              number of these commenters pointed out that it can be

       1
        The A.D.A. expressly delegates authority to the Attorney General tp promulgate
regulations, see, Bay Area Addiction Research & Treatment, Inc., v. City of Antioch, 179 F.3d
725, n.11 (9th Cir 1999).

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             difficult or impossible to obtain information about accessible
             rooms and hotel features and that even when information is
             provided it often is found to be incorrect upon arrival. They
             also noted difficulty reserving accessible rooms and the
             inability to guarantee or otherwise ensure that the appropriate
             accessible room is available when the guest arrives. The
             ability to obtain information about accessible guest rooms, to
             make reservations for accessible guest rooms in the same
             manner as other guests, and to be assured of an accessible
             room upon arrival was of critical importance to these
             commenters.

             The D.O.J. further stressed that it is vital that hotels specifically

identify and describe the accessible features of the hotel, and the guest rooms, on

its reservation system:

             As a practical matter, a public accommodation's designation
             of a guest room as 'accessible' will not ensure necessarily
             that the room complies with all of the
             1991Standards…Further, hotel rooms that are in full
             compliance with current standards may differ, and
             individuals with disabilities must be able to ascertain which
             features - in new and existing facilities - are included in the
             hotel's accessible guest rooms. For example, under certain
             circumstances, an accessible hotel bathroom may meet
             accessibility requirements with either a bathtub or a roll-in
             shower. The presence or absence of particular accessible
             features such as these may be the difference between a
             room that is usable by a particular person with a disability
             and one that is not.


             As to hotels that were not built after the enactment of the ADA, the

D.O.J stated:


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           For older hotels with limited accessibility features,
           information about the hotel should include, at a minimum,
           information about accessible entrances to the hotel, the path
           of travel to guest check-in and other essential services, and
           the accessible route to the accessible room or rooms. In
           addition to the room information described above, these
           hotels should provide information about important features
           that do not comply with the 1991 Standards…Reservations
           services for these entities should include this information and
           provide a way for guests to contact the appropriate hotel
           employee for additional information.


             This Court has original jurisdiction over actions which arise from the

Defendant’s violations of Title III of the Americans with Disabilities Act, 28

U.S.C. § 1331 and 28 U.S.C. § 1343, 42 U.S.C. § 12181 et seq. See also 28 U.S.C.

§ 2201 and § 2202.

             Pursuant to 42 U.S.C. § 12188, this Court is provided with authority

to grant Plaintiff injunctive relief, including an order to require the Defendant to

alter the websites to bring them into compliance with 28 C.F.R. Section

36.302(e)(1) to make those websites readily accessible and useable to the Plaintiff

and all other persons with disabilities as defined by the ADA; or by barring the

Defendant from using the websites until such time as the Defendant cures its

violations of the ADA.

        B. Summary Judgment

              Rule 56( c), Fed.R.Civ.P., says that “summary judgment is
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appropriate when the pleadings, depositions, affidavits, if any, show that there is

no genuine issue as to any material fact and that the moving party is entitled to

judgment as a matter of law.” Id. The party moving for summary judgment must

first demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.

Catrett, 477 U.S. 317 (1986). A ‘genuine issue’ exists when there is sufficient

evidence to permit a reasonable jury to find for the nonmoving party. See, Bourque

v. FDIC, 42 F.3d 704 (1st Cir. 1994). A ‘material fact’ is one that has the potential

to affect the outcome of the suit under applicable law. Id.

            Additionally, a party opposing a properly supported motion for

summary judgment bears the burden of establishing the existence of a genuine

issue of material fact, Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).

The nonmovant “cannot create a genuine issue of fact through mere speculation or

the building of one inference upon another.” Beale v. Hardy, 769 F.2d 213, 214

(4th Cir. 1985); See also O’Connor v. Consolidated Coin Caterers Corp., 56 F.3d

542, 545 (4th Cir. 1995), rev’d on other grounds, 517 U.S. 308 (1996). “When a

motion for summary judgment is made and supported as provided in [Rule 56], an

adverse party may not rest upon the mere allegations or denials of the adverse

party’s pleading, but the adverse party’s response, by affidavits or as otherwise

provided in [Rule 56] must set forth specific facts showing that there is a genuine


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issue for trial.” Celotex at 324. See also, Anderson, supra.

II. THE MATERIAL FACTS

              Deborah Laufer is not capable of walking more than a few steps

without assistive devices and must use a wheelchair, a cane or other support

(Statement of Deborah Laufer, Ex. “A” hereto, ¶ 1)2. She has only limited use of

her hands and is vision impaired (Laufer, ¶ 1). When looking at a hotel online

reservation system, she needs information so that she can ascertain whether or not

the hotel and its guest rooms are suitable for one afflicted with her particular

disabilities (Laufer, ¶ 2). Ms. Laufer considers herself a tester (Laufer, ¶ 3).

             The Defendant owns and operates a motel known as Quality Inn,

located at 15960 N.W. U.S. 441, Alachua, Florida [D.E. 9, ¶ 3]. Reservations can

be booked at the Defendant’s motel online through its own website, and through

the third party booking sites identified in the complaint [D.E. 9, ¶ 9]. The latter

include hotels.com, expedia.com, and bookings.com (Laufer, ¶ 6).

             Prior to the filing of this lawsuit, specifically on September 14, 2019,

September 15, 2019 and September 16, 2019, Ms. Laufer visited the online

reservation system for the Defendant’s hotel identified in paragraph eleven (11) of

the complaint as well as the third party websites identified in paragraphs twelve


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       Hereinafter, “Laufer” followed by a paragraph number.

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(12) through fourteen (14) of the complaint for the purpose of reviewing and

assessing the accessible features at the hotel and ascertain whether the websites

contain the information required by 28 C.F.R. Section 36.302(e) and adequately

informed her as to whether the hotel meets my accessibility needs. She was unable

to do so. More specifically, none of the websites identified any accessible rooms,

(Ex. “C,” Bates # 00157)3 nor provided for booking of accessible rooms (Laufer, ¶

7). The Defendant’s own website contained no information concerning

accessibility. The third party booking sites contained nothing but generic

statements such as “accessible bathroom,” “disabled parking,” wheelchair

accessible path of travel,” “roll-in shower, “in-room accessibility,” “accessible

rooms/facilities” and “handicapped rooms/facilities.” That minimal information

was not only insufficient for her to make a determination whether or not the public

spaces of the hotel or any of the individual rooms were suitable for her particular

needs but potentially seriously misleading were she to rely on such generic

statements and reserve a room that was, in fact, not suitable for her. (Laufer, ¶ 8) .

             As a result, Ms. Laufer was deprived the same services available to

the general public. When she encountered the above conditions, she suffered

humiliation and frustration at being treated like a second class citizen, being denied


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       “There is no ADA room for either property.”

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equal access and benefits to the goods, facilities, accommodations and services.

she was deterred from returning to the websites because it would be a futile gesture

to do so unless I am willing to suffer further discrimination. She was, and remains,

aware of the fact that the Defendant segregates her me and other disabled persons

by offering the non-disabled one service and the disabled a lesser service. She is,

and remains, aware that she is being deprived the equality of opportunity afforded

to non-disabled persons to utilize the online reservation system free of

discrimination. She also knows that her ability to travel free of discrimination and

with equal access to information offered to the general public is diminished

(Laufer, ¶ 9).

              On or about February 20, 2020, after this lawsuit was filed, Ms.

Laufer revisited the websites. She was still unable to reserve an accessible room

and the same violations described above were again present (Laufer, ¶ 10).

              The Plaintiff plans to again review the websites in the near future and

maintains a follow-up system to ensure that she does so (Laufer, ¶ 11).

              The Defendant together with an affiliated entity, have “gotten nailed

with 3 lawsuits about accessibility (Ex. “C.”). In other words, the Defendant is a

recividist.

III. ARGUMENT


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       A. Deborah Laufer Has Standing

             The Eleventh Circuit held that: “a plaintiff seeking an injunction

under Title III either must have ‘attempted to return’ to the [site of discrimination]

or at least ‘intend to do so in the future’.” Houston v. Marod Supermarkets, Inc.,

733 F.3d 1323, 1335, 1336 (11th Cir. 2013) citing Shotz v. Cates, 256 F.3d 1077,

1081 (11th Cir. 2001) and Stevens v. Premier Cruises, Inc., 215 F.3d 1237 (11th Cir.

2000). In other words, a plaintiff satisfies the imminent danger requirement if she

alleges that she intends to return in the near future. In the alternative, the

requirement is also satisfied because the plaintiff had “attempted to return.” In the

instant case, Plaintiff satisfied the Marod requirement because she visited and

revisited the discriminatory websites multiple times before this lawsuit was filed:

specifically, on September 13, 2019, September 14, 2019 and September 15, 2019,

(Laufer, ¶ 7). She revisited the same websites on or about February 19, 2020

(Laufer, ¶ 11). Under Marod, Plaintiff has established standing. Further, the

Plaintiff both intends to return to the websites in the future and has implemented

and adheres to a system of returning to all websites of all hotels she sued, as

explained in greater detail in her Affidavit (Laufer, ¶ 11). Thus, Plaintiff satisfies

the Marod standard because she both (1) revisited the sites prior to the suit; and (2)

intends to revisit the sites in the near future and has a reliable system to assist in


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assuring follow-up. In addition, and even assuming that the Defendant did anything

to eliminate the deficiencies in its web presence, there is a "presumption" of future

injury when, as would have had to be the case here, cessation occured in response

to suit, see, Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 109, 118 S. Ct.

1003, 140 L. Ed. 2d 210 (1998).

        B. The Defendant Violates the Law.

               In order to state a claim under the Americans With Disabilities Act, a

plaintiff need only establish that (1) she is disabled, (2) that the property she visited

is a place of public accommodation, and (3) that she was denied full and equal

treatment because of her disability. E.g., Access Now, Inc., v. S. Fla. Stadium

Corp., 161 F. Supp. 2d 1357, 1363 (S.D. Fla 2001). Because of her physical

impairments, Deborah Laufer qualifies as a disabled person within the meaning of

Title III of the Americans With Disabilities Act (“ADA”). When looking for

hotels, it is important to her to be able to determine whether or not a particular

establishment is ADA compliant and what accommodations are available that

pertain to her particular disabilities.

              The Defendant owns and operates the Quality Inn motel. That motel is

a place of public accommodation within the meaning of the law. Thus, the

Defendant is responsible for complying with the obligations of the ADA including


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those established by 28 C.F.R. Section 36.302(e)(1). Rooms at the Defendant’s

motel can be booked online through the Defendant’s own website, and through the

third party booking sites identified in the complaint.

               As of the date on which this lawsuit was filed, the Defendant’s

website and the third party booking sites it utilized failed to comply with the

requirements of 28 C.F.R. Section 36.302(e)(1). When prior to the filing of this

lawsuit, Ms. Laufer visited the Defendant’s website and third party booking sites,

she was unable to determine whether or not the hotel met her accessibility needs

because of the non-compliance with the requirements set forth in 28 C.F.R.

36.302(e). A violation of the A.D.A. occurs when the disability person encounters

the violation, Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1332 (11th Cir.

2013)4. Where a website is involved, as the Court in Kennedy v. Gold Sun

Hospitality, LLC, case no: 8:18-cv-842-VMC (M.D. Fla) concluded, the “failure of

[the hotel’s] on line reservation system to comply with the regulation is by itself

discrimination....”(hearing transcript, p. 34).5 See Kennedy v. New Yorker Hotel

Miami, LLC, 18-62897-WPD, DE 34 (S.D. Fla. 6/6/19); also, Kennedy v. Sai Ram

Hotels, LLC,2019 U.S. Dist. LEXIS 80111, *4-6 (M.D. Fla. 5/13/19), citing

       4
        “When he encounters those barriers, Plaintiff Houston ‘has suffered injury in precisely
the form the statute was intended to guard against.’” (citation omitted).
       5
        Hearing transcript attached as Exhibit “B.”

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Honeywell v. Harihar Inc., 2018 U.S. Dist. LEXIS 203740,(M.D. Fla. Dec. 3,

2018), Parks v. Richard, case no: 2:20-cv-227-SPC-NPM (M.D.Fla.)[D.E.11].

Thus, upon encountering the non-complaint websites Ms. Laufer was both

deprived of the opportunities offered to the non-disabled public of enjoying equal

access to the full advantages, benefits, goods and services available at the property,

segregated her from the able bodied, and treated differently than members of the

non-disabled public on the basis of her disability and that violates the law.

             As of February 20, 2020, the Defendant had done nothing to bring the

websites into compliance with the requirements of 28 C.F.R. Section 36.302(e)(1).

Because 28 C.F.R. 36.302(e)(1), explicitly imposes liability on owners of places of

public accommodation where reservations are made “through third parties,”

whether or not the Defendant owns or operates and of the websites is irrelevant to

its liability. As noted above (Ex. ‘C”), the Defendant has been “nailed” three times

for accessibility violations yet persists in violating the law.

       C. Website Cases Cannot Be Mooted.

             Finally, website claims cannot be mooted particularly where, as here,

the Plaintiff asks that the Defendant be ordered not only to bring the websites into

compliance but to “monitor and maintain” [D.E. 3, p. 12,¶ (b). In Haynes v.

Hooters Am., LLC., 893 F.3d 781 (11th Cir. 2018), the Eleventh Circuit addressed


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the issue of asserting a mootness claim in a case involving website discrimination:

             Relatedly, Haynes requested in his complaint that the district
             court direct Hooters to continually update and maintain its
             website to ensure that it remains fully accessible. Accordingly,
             even if Hooters’ website becomes ADA compliant, Haynes
             seeks injunctive relief requiring Hooters to maintain the
             website in compliant condition. Thus, ... , there is still a live
             controversy about whether Haynes can receive an injunction to
             force Hooters to make its website ADA compliant or to
             maintain it as such. Therefore, this case is not moot.

Id., 784 (underlining in original).

             At least two others courts have held that a defendant cannot

moot an ADA case simply by making its website compliant. See Nat'l

Fed'n of the Blind v. Target Corp., 582 F. Supp. 2d 1185 (N.D. Cal. Sept.

28, 2007) (cannot moot because of the “potential for new pages”). Brooke

v. A-Ventures, LLC, 2017 U.S. Dist. LEXIS 193259 * 9(D. Ariz. Nov. 22,

2017), involved a mootness defense whereby the defendant hotel had

claimed that it had fixed its online reservations system. In rejecting this

defense, the court stated that:

             all defendant has done is change its website and adopt a
             new internal policy, both of which could easily be
             changed in the future. Defendant has not met its heavy
             burden of showing that it is absolutely clear that its
             wrongful behavior could not reasonably be expected to
             recur. This case is not moot.”
Id.
             In website cases and issues of proof aside, on which subject, see,

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Sheely v. MRI Radiology Network, P.A., 505 F.3d 1173 (11th Cir. 2007), there is simply no

set of facts that are sufficient to moot a case.

IV. CONCLUSION

              In conclusion, Deborah Laufer is an individual with disabilities.

She visited the Defendant’s website and the third party booking sites the

Defendant utilizes both before and after suit was filed. On all occasions, she

encountered the violations of 28 C.F.R. Section 36.302(e)(1). She intends

revisiting the websites. She has thus established her standing and has suffered

from the Defendant’s violations of the law. The regulation at issue here became

effective March 15, 2012. Despite eight years’ notice, the Defendant’s web

presence does not comply with the law. That, coupled with fluid nature of

websites, requires injunctive relief to insure that the Defendant does not persist

in its bad old ways.

              WHEREFORE, Plaintiff requests that Summary Judgment be

entered in Plaintiff’s favor as there exists no genuine issue of material fact, and

that the Court Order that the Defendant to bring the websites into immediate

compliance with the ADA, and award Plaintiff her attorney’s fees, and litigation

expenses, including expert fees and costs.




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                   LOCAL RULE 7.1(F) CERTIFICATE

             I HEREBY CERTIFY that this motion and memorandum

contains 3,797 words.

                                         /s/Philip Michael Cullen, III, Esq.




                        CERTIFICATE OF SERVICE



             I HEREBY CERTIFY that, on May 22, 2020, I electronically

filed the foregoing with the Clerk of the Court using the CM/ECF system

which will automatically send e-mail notification of such filing to the attorneys

of record.

                                            /s/ Philip Michael Cullen, III, Esq.


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